                                                            U.S. DISTRICT
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                                                                        Oct 27 - 2021

                                                                        John M. Domurad, Clerk

                                                                1:21-CV-1171 (BKS/CFH)
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